Case 1:09-Cv-00597-LI\/|B-TCB Document 41-27 Filed 10/23/09 Page 1 of 3 Page|D# 797

EXHIBIT Z

ease 1:09-cv-00597-Li\/ie-TCB Documem 41-27 Filed 10/23/09 Page 2 of 3 Pat§eas# rea

Roth, Melissa R.

From: Randy Yavitz [yavitz@hhy|aw.com]
Sent: Friday, September 11, 2009 4:44 PNI
To: Dici<inson, Micheile J_

Subject: RE: your letter dated ?

l asked you for details of the intimidation and you just repeated the charge with the same generality So why
should l take you seriously?

As far as treating you with respect, Niiche|ie, | am paying you respect by calling to your attention the difference
between a sincere interaction and a court set-up piece Frcm your response, l can tell that you are sentient to
that distinction

Randy Yavitz

HUNTER, HUMPHREY & Y)¢`»\V|TZl PLC
2633 E indian School Rd, #440
Phoenix, Arlzona 85016

602-275-7733 Telephone
480452~1377 Facsimiie
randy@hhylaw.com
www.hhy|aw.com

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----- Original Niessage ---
From: "Dicl<inson, i\/liche|le J."
To: "Randy Yavitz"

Sent: 9!11/2009 1:07PN|
Subject: RE: your letter dated ?

Randy,

The letter to which l believe you are referring dealt with, among other thingsl your clients' intimidation of
witnesses | cannot image how you would consider such a serious topic to be a waste of your time, much less
mine. VVe take this matter very seriously and will not hesitate to escalate it to the court, if it continues And yes,
my letter was written with the expectation that the court may at some point need to see its contents Regardless
of the topic, howeverl l always treat opposing counsel with respectl whether deserved or not. l would expect the
same from you in the future

iVlicheile

From: Randy Yaviiz [maiito:yaviiz@hhyiaw.com]
Sent: Friday, September 11, 2009 3:45 PM

To: Dicl<inson, Michelle J.

Subject: RE: your letter dated ?

Nlicheiie, i received a letter from you responding to mine. l forget the date because | placed it so quickly in

the round tile. in the future, please don't waste your time or mine writing to me with another audience in
mind.

10/23/2009

Case 1:09- -00597- - - `
cv Li\/lB TCB Document 41 27 Filed 10/23/09 Page 3 of 3 Palgaegig)é#gt%<?

Randy Yavitz

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10/23/2009

